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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION

IRON WORKERS LOCAL NO. 498 and IRON                 )
IRON WORKERS LOCAL NO. 498                          )
PENSION FUND,                                       )
                                                    )      CASE NO.
                              Plaintiffs,           )
                                                    )
                       v.                           )      Assigned Judge:
                                                    )
                                                    )      Magistrate Judge:
MARTIN & COMPANY EXCAVATING,                        )
                                                    )
                              Defendant.            )

                                       COMPLAINT

       Plaintiffs, the IRON WORKERS’ LOCAL NO.498 PENSION FUND, et al., by their

attorney, Michael J. McGuire and the law firm of GREGORIO ♦ MARCO, complain of the

Defendant, MARTIN & COMPANY EXCAVATING, and allege as follows;

       1.       This action arises under Section 502 of the Employee Retirement Income Security

Act (hereinafter referred to as "ERISA") and Section 301 of the Taft-Hartley Act. (29 U.S.C.

§§1132 and 185). Jurisdiction is founded on the existence of questions arising thereunder.

       2.       The IRON WORKERS LOCAL NO. 498 and the IRON WORKERS LOCAL

NO. 498 PENSION FUND, (hereinafter referred to collectively as the “Plaintiffs”) receive

contributions from numerous employers pursuant to Collective Bargaining Agreements between

the employers and the IRON WORKERS LOCAL UNION NO. 498, (hereinafter referred to as

the “Union”).

       3.       The IRON WORKERS LOCAL NO. 498 PENSION FUND is a multi-employer

plan as defined under 29 U.S.C. § 1002.
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       4.      The IRON WORKERS LOCAL 498 is an unincorporated association of iron

workers headquartered at 5640 Sockness Drive, Rockford, IL.

       5.      The IRON WORKERS LOCAL NO. 498 PENSION FUND is located in

Rockford, Illinois and venue is proper in the Northern District of Illinois, Western Division.

       6.      MARTIN & COMPANY EXCAVATING., (hereinafter referred to as

“Defendant”) is an employer engaged in an industry affecting commerce which entered into a

Collective Bargaining Agreement with the Union (hereinafter referred to as the “CBA”). The

CBA binds the Defendant to the terms of the Trust Agreements which created the Trust Funds.

       7.      The CBA and Trust Agreements require the Defendant to submit monthly reports

listing the hours worked by its bargaining unit employees (hereinafter referred to as "monthly

contribution reports") and to make concurrent payment of contributions to the Trust Funds based

upon the hours worked by said employees. In addition, the Defendant is required to make

contributions to the Trust Funds measured by the hours worked by its subcontractors who are not

signatory to a CBA with the Union or by individuals who are performing bargaining unit work.

       8.      The CBA and Trust Agreements require the Defendant to submit its books and

records to Plaintiffs’ auditor for the purpose of determining whether or not Defendant is in

compliance with its obligation to contribute to Plaintiffs and its obligations under the CBA.

       9.      Employers who do not timely pay fringe benefit contributions are also liable for

liquidated damages, interest, reasonable attorney’s fees, court costs, incurred in the collection

process pursuant to the CBA and the IRON WORKERS LOCAL NO. 498 PENSION FUND

Trust Agreement.

       10.     Plaintiffs auditors conducted an audit on the books and records of Defendant for

the period of January 1, 2015 through May 31, 2019.

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       11.    Defendant has breached the provisions of the CBA and Trust Agreement by

failing to pay all of the contributions for the audit period of January 1, 2015 through May 31,

2019 in the amount of $1,708,367.39.

       12.    As a result of said breach, the Defendant is also liable to the IRON WORKERS

LOCAL NO. 498 PENSION FUND for the following ancillary damages:


              a. attorney fees and costs pursuant to the CBA and 29 U.S.C. §1132(g)(2)(D);
                 and either,

              b. liquidated damages and interest pursuant to the CBA, Trust Agreements and
                 29 U.S.C. §1132(g)(2)(B); or

              c. double interest pursuant to E.R.I.S.A., 29 U.S.C. §1132(g)(2)(C).


WHEREFORE, Plaintiffs pray:

       A.     That judgment be entered in favor of Plaintiffs and against Martin & Company
              Excavating in the amount of $1,708,367.39;

       B.     That the Defendant be ordered to pay interest on the amount that is due to the Iron
              Workers Local No. 498 Pension Fund pursuant to 29 U.S.C. §1132(g)(2)(B);

       C.     That the Defendant be ordered to pay interest or liquidated damages on any
              amount that is due pursuant to 29 U.S.C. §1132(g)(2)(C);

       D.     That the Defendant be ordered to pay the reasonable attorney fees and costs
              incurred by the Plaintiffs;

       E.     That Plaintiffs have such other and further relief as the Court deems just and
              equitable.




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                                        Respectfully Submitted,

                                        IRON WORKERS LOCAL NO. 498, et al.

                                        BY:    /s/ Michael J. McGuire
                                                One of its attorneys
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